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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 SUSMAN GODFREY LLP,

                Plaintiff,

        v.
                                                        Civil Action No. 25 - 1107 (LLA)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

                Defendants.



                                 MEMORANDUM OPINION

       In April 2025, President Donald J. Trump issued an Executive Order targeting the law firm

Susman Godfrey LLP (“Susman”) based on the clients it represents and the causes it supports. The

order was one in a series attacking firms that had taken positions with which President Trump

disagreed. In the ensuing months, every court to have considered a challenge to one of these orders

has found grave constitutional violations and permanently enjoined enforcement of the order in

full. Perkins Coie LLP v. U.S. Dep’t of Just., No. 25-CV-716, 2025 WL 1276857, at *49 (D.D.C.

May 2, 2025); Jenner & Block LLP v. U.S. Dep’t of Just., No. 25-CV-916, 2025 WL 1482021,

at *26 (D.D.C. May 23, 2025); Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Off. of

President, No. 25-CV-917, 2025 WL 1502329, at *33-34 (D.D.C. May 27, 2025). Today, this

court follows suit, concluding that the order targeting Susman violates the U.S. Constitution and

must be permanently enjoined.
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           I.      FACTUAL BACKGROUND AND PROCEDURAL HISTORY

                                  A.       Susman Godfrey LLP

       Founded in 1980, Susman is a well-known trial firm with offices in Houston, Los Angeles,

New York, and Seattle. ECF No. 51-2 ¶¶ 1-2, 8; ECF No. 159-1 ¶¶ 1-2, 8. While Susman has just

over 230 attorneys, it is one of the top 100 revenue-generating law firms in the United States. ECF

No. 51-2 ¶¶ 2, 4; ECF No. 159-1 ¶¶ 2, 4.

       Susman works on a wide variety of cases, and approximately one-third of its active matters

take place before federal courts and agencies. ECF No. 51-2 ¶¶ 3, 23; ECF No. 159-1 ¶¶ 3, 23. In

representing its clients, Susman has interacted with, and anticipates further interactions with, at

least fifteen federal departments, agencies, and officials. ECF No. 51-2 ¶ 26; ECF No. 159-1 ¶ 26.

Additionally, Susman has nearly twenty clients that either contract or do business with the federal

government or have affiliates that are government contractors and subcontractors. ECF No. 51-2

¶ 28; ECF No. 159-1 ¶ 28.

       Many of the practice areas in which Susman specializes require frequent interaction with

the federal government.     ECF No. 51-2 ¶ 30; ECF No. 159-1 ¶ 30.          For example, Susman

frequently handles cases involving the False Claims Act; patent infringement; antitrust matters

including price-fixing, market allocation, refusal-to-deal, no-poach, and monopolization claims;

and statutes regulating the environment. ECF No. 51-2 ¶¶ 30-31, 39, 44, 46; ECF No. 159-1

¶¶ 30-31, 39, 44, 46. The same is true of Susman’s pro bono activities, which include matters

related to human rights violations, anti-discrimination issues, constitutional challenges, and death

penalty appeals, and also involve interacting with the federal government and appearing in federal

court. ECF No. 51-2 ¶¶ 48-49; ECF No. 159-1 ¶¶ 48-49.




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                                 B.      Executive Order 14,263

       On April 9, 2025, President Trump signed and issued Executive Order 14,263 (the “Order”),

titled “Addressing Risks from Susman Godfrey,” along with an accompanying “fact sheet.” See

Exec. Order No. 14,263, 90 Fed. Reg. 15615 (Apr. 15, 2025); ECF No. 51-7. The Order followed

on the heels of similar executive orders targeting several other law firms, including Perkins Coie

LLP, Jenner & Block LLP, Wilmer Cutler Pickering Hale and Dorr LLP, and Paul, Weiss, Rifkind,

Wharton & Garrison LLP, as well as a memorandum targeting Covington & Burling LLP. ECF

No. 51-2 ¶¶ 70-115; ECF No. 159-1 ¶¶ 70-115. 1 The Order proceeds in six sections.

       Section 1. The first section, titled “Background,” provides the factual basis for the Order.

It begins by stating President Trump’s belief that “[l]awyers and law firms that engage in activities

detrimental to critical American interests should not have access to our Nation’s secrets, nor should

their conduct be subsidized by Federal taxpayer funds or contracts” and explains that the federal

government must take steps to “guard against the actual, potential, or perceived conflicts of interest

that arise when the Government funds, engages with, or otherwise devotes resources to law firms

and their clients that engage in conduct undermining critical American interests and priorities.”

Order § 1.

       The Order then zeroes in on Susman, offering three reasons that the President “ha[s]

determined that action is necessary to address the significant risks, egregious conduct, and conflicts




1
 See Addressing Risks from WilmerHale, Exec. Order No. 14,250, 90 Fed. Reg. 14549 (Apr. 3,
2025); Addressing Risks from Jenner & Block, Exec. Order No. 14,246, 90 Fed. Reg. 13997
(Mar. 28, 2025); Addressing Risks from Perkins Coie LLP, Exec. Order No. 14,230, 90 Fed. Reg.
11781 (Mar. 11, 2025); Addressing Risks from Paul Weiss, Exec. Order No. 14,237, 90 Fed. Reg.
13039 (Mar. 20, 2025) (revoked by Addressing Remedial Action by Paul Weiss, Exec. Order
No. 14,244 § 1, 90 Fed. Reg. 13685 (Mar. 26, 2025)); Suspension of Security Clearances and
Evaluation of Government Contracts, The White House (Feb. 25, 2025), https://perma.cc/66W7-
9WM3.


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of interest” posed by the firm. Id. First, it accuses Susman of “spearhead[ing] efforts to weaponize

the American legal system and degrade the quality of American elections.” Id. Neither this section

nor the rest of the Order explains what exactly this refers to, but Susman proffers—and the

government does not dispute—that it references Susman’s representation of Dominion Voting

Systems and state election officials in connection with litigation concerning the 2020 election. 2

ECF No. 164, at 3; Hr’g Tr. at 4:19-21, 72:13-18. Next, the Order asserts that Susman “funds

groups that engage in dangerous efforts to undermine the effectiveness of the United States

military through the injection of political and radical ideology.” Order § 1. Again, the Order offers

no explanation of what is meant by this, but Defendants suggest that it refers to Susman’s decision

to donate funds to “GLBTQ Legal Advocates and Defenders (GLAD), which previously sued the

Federal Government to enjoin [a] Department of Defense policy.” ECF No. 159, at 13 n.2.

Finally, the Order claims that Susman “supports efforts to discriminate on the basis of race” and

“itself engages in unlawful discrimination, including . . . on the basis of race.” Order § 1. To

substantiate this claim, the Order explains that “Susman administers a program where it offers

financial awards and employment opportunities only to ‘students of color’ . . . [which is] unlawful

discrimination perpetrated in the name of ‘diversity, equity, and inclusion’ policies.”           Id.

Throughout Section 1, the Order repeatedly asserts that Susman’s activities are “inconsistent with

the interests of the United States” and “undermin[e] critical American interests and priorities.” Id.



2
  Following the 2020 election, various news outlets falsely claimed that voting machines supplied
by Dominion Voting Systems had been rigged, causing President Trump to fail in his bid for
reelection. ECF No. 51-2 ¶ 53; ECF No. 159-1 ¶ 53 (Defendants dispute portions of the statement
“to [the] extent inconsistent with EO 14250 § 1,” which is not at issue in this case). President
Trump echoed these aspersions on social media. ECF No. 51-2 ¶¶ 53-55; ECF No. 159-1
¶¶ 53-55. Susman represents Dominion Voting Systems in various defamation lawsuits related to
these accusations. ECF No. 51-2 ¶¶ 56, 65; ECF No. 159-1 ¶¶ 56, 65. Susman also defended the
Secretary of the State of Arizona and the Governor of Wisconsin in lawsuits accusing them of
election interference. ECF No. 51-2 ¶¶ 66-67; ECF No. 159-1 ¶¶ 66-67.


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       Section 2. The second section, titled “Security Clearance Review,” instructs the Attorney

General, the Director of National Intelligence, and other agency heads to “immediately take steps

consistent with applicable law to suspend any active security clearances held by individuals at

Susman, pending a review of whether such clearances are consistent with the national interest.”

Order § 2(a). It further commands the Office of Management and Budget to “identify all

Government goods, property, material, and services, including Sensitive Compartmented

Information Facilities, provided for the benefit of Susman” so that agency heads can

“expeditiously cease such provision.” Id. § 2(b) The section does not provide any further detail,

nor does it explain what the review of Susman clearances to ensure “consisten[cy] with the national

interest” might entail. Id.

       Section 3. The third section, titled “Contracting,” sets several limitations on the ability of

Susman and parties that do business with Susman to contract with the federal government,

purportedly so that the government does not subsidize “activities that are not aligned with

American interests.” Order § 3(a). The section first “require[s] Government contractors to

disclose any business they do with Susman and whether that business is related to the subject of

the Government contract.” Id. Informed by these disclosures, agency heads must review all

contracts with Susman and parties that do business with Susman and “take appropriate steps to

terminate any contract . . . for which Susman has been hired to perform any service” and

“otherwise align their agency funding decisions . . . with the goals and priorities of [the Trump]

Administration.” Id. § 3(b). To ensure compliance with the Order, agencies are required to submit

to the Office of Management and Budget an assessment of any relevant contracts, and actions

taken with respect to those contracts, within thirty days. Id. § 3(b)(ii).




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        Section 4. The fourth section, titled “Racial Discrimination,” states only that “[n]othing in

this order shall be construed to limit the action authorized by section 4 of Executive Order 14230

of March 6, 2025 (Addressing Risks from Perkins Coie LLP).” Order § 4. Section 4 of Executive

Order 14,230 instructs the Chair of the Equal Employment Opportunity Commission to review the

practices of “large, influential, or industry[-]leading law firms for consistency with Title VII of the

Civil Rights Act of 1964,” with a focus on whether these firms “reserve certain positions, such as

summer associate spots, for individuals of preferred races; promote individuals on a discriminatory

basis; permit client access on a discriminatory basis; or provide access to events, trainings, or travel

on a discriminatory basis.” Exec. Order No. 14,230 § 4, 90 Fed. Reg. at 11782. That order also

directs the Attorney General to spearhead investigations into law firms that “do business with

Federal entities for compliance with race-based and sex-based non-discrimination laws and take

any additional actions the Attorney General deems appropriate in light of the evidence uncovered.”

Id.

        Section 5. The fifth section of the Susman Order, titled “Personnel,” instructs agency heads

to “provide guidance limiting official access from Federal Government buildings to employees of

Susman when such access would threaten the national security of or otherwise be inconsistent with

the interests of the United States” and to provide further guidance “limiting Government

employees acting in their official capacity from engaging with Susman employees.” Order § 5(a).

It also creates a presumption against hiring Susman employees into the federal government,

directing agency officials to “refrain from hiring employees of Susman, absent a waiver from the

head of the agency, made in consultation with the Director of the Office of Personnel Management,

that such hire will not threaten the national security of the United States.” Id. § 5(b).




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       Section 6. The last section of the Order, titled “General Provisions,” explains that the Order

must be implemented “consistent with applicable law” and clarifies that nothing in the Order

should be “construed to impair or otherwise affect” the “authority granted by law to an executive

department or agency, or the head thereof” or “the functions of the Director of the Office of

Management and Budget relating to budgetary, administrative, or legislative proposals.” Order

§ 6.

       Alongside the Order, the White House issued a “fact sheet” that largely regurgitates the

language of the Order, refers to Susman as a “rogue law firm[,]” and explains that “President

Trump is delivering on his promise to end the weaponization of government and protect the nation

from partisan and bad faith actors who exploit their influence.” ECF No. 51-7.

       The Trump Administration did not contact Susman in advance of issuing the Order and

accompanying fact sheet. ECF No. 51-2 ¶¶ 157-58; ECF No. 159-1 ¶¶ 157-58. It also has not

provided the firm an opportunity to respond to the allegations contained in the Order and fact sheet.

ECF No. 51-2 ¶ 159; ECF No. 51-3 ¶ 61.


                                   C.      Procedural History

       On April 11, 2025, Susman filed suit to challenge the constitutionality of the Order. ECF

No. 1. 3 A few days later, the firm sought a temporary restraining order (“TRO”) to prevent

implementation of Sections 1, 3, and 5 of the Order. ECF No. 10. On April 15, the court heard

oral arguments from both parties and granted Susman’s request for a TRO. See Apr. 15, 2025

Minute Entry; ECF No. 15.       Specifically, the court temporarily enjoined Defendants “from




3
 Susman brings this suit against various agencies and officers in their official capacity. To the
extent that any officer who is a party to the case is replaced, “[t]he officer’s successor is
automatically substituted as a party” pursuant to Federal Rule of Civil Procedure 25(d).


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implementing or giving effect to Sections 1, 3, and 5” of the Order and directed Defendants “to

rescind any and all guidance or direction” relating to the implementation or enforcement of those

sections of the Order. ECF No. 15, at 1. The court further ordered Defendants to file a status

report “describing the steps taken to ensure compliance with [the court’s] order and certifying

compliance with its requirements.”       Id. at 2.   Accordingly, Defendants reported that the

Department of Justice had distributed the court’s order with directions to ensure compliance. ECF

No. 28, at 1. By the agreement of the parties, ECF No. 27, at 2; Fed. R. Civ. P. 65(b)(2), the court

extended its TRO “until final judgment is entered in this matter” and set a dispositive briefing

schedule, ECF No. 30, at 1.

       Susman then moved for summary judgment, requesting that the court declare the Order

“unlawful because it violates the First and Fifth Amendments to the U.S. Constitution, exceeds the

President’s constitutional authority under Article II, and violates the separation of powers.” ECF

No. 51, at 1. The firm seeks to permanently enjoin Defendants from implementing or enforcing

the Order. Id. Defendants separately moved to dismiss Susman’s claims. ECF No. 58. The court

held a hearing on both motions on May 8. See May 8, 2025 Minute Entry.

       Following the hearing, Susman amended its complaint to add additional federal defendants

subject to the Order. ECF No. 178. Given the limited nature of the amendment, the parties agreed

to not submit new briefing and, instead, incorporate the parties’ prior briefing into their new

motions. ECF No. 175. The renewed motions are both fully briefed. ECF Nos. 51, 159, 164, 181

(motion for summary judgment); ECF Nos. 58, 158, 174, 180 (motion to dismiss). The court is




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also in receipt of twenty-one amicus briefs filed in support of Susman’s motion for summary

judgment. 4


                             D.      Related Orders and Litigation

       Before and after the issuance of the Susman Order, several other law firms, including

Skadden, Arps, Slate, Meagher & Flom LLP; Willkie Farr & Gallagher LLP; Milbank LLP;

Kirkland & Ellis LLP; Allen Overy Shearman Sterling US, LLP; Simpson Thacher & Bartlett LLP;

Latham & Watkins LLP; and Cadwalader, Wickersham & Taft LLP negotiated agreements with

the Trump Administration to avoid being the target of similar orders. 5 These firms committed to

providing hundreds of millions of dollars in pro bono work on initiatives supported by President




4
  See ECF Nos. 65 (775 Law Professors); 66 (Lawyers Defending American Democracy, Inc.); 72
(Washington, Illinois, Massachusetts, New Jersey, Arizona, California, Colorado, Connecticut,
Delaware, District of Columbia, Hawai’i, Maine, Maryland, Michigan, Minnesota, Nevada, New
Mexico, New York, Oregon, Rhode Island, and Vermont); 73 (Professor Aaron H. Caplan); 113
(Former and Current General Counsel); 114 (Fred T. Korematsu Center for Law and Equality);
141 (366 Former Judges); 142 (Lawyers’ Committee for Civil Rights Under Law, Public Counsel,
Washington Lawyers’ Committee for Civil Rights and Urban Affairs, Public Interest Law Center,
Chicago Lawyers’ Committee for Civil Rights Under Law, Mississippi Center for Justice, and
Lawyers’ Committee for Civil Rights of the San Francisco Bay Area); 143 (Former Presidents of
the District of Columbia Bar, Past Presidents of Voluntary Bar Associations, and Voluntary Bar
Associations in the District of Columbia); 144 (Law Firm Partners United Inc.); 145 (NAACP
Legal Defense & Educational Fund, Inc.); 146 (777 Solo and Small Firm Lawyers); 147 (23
Nongovernmental Organizations); 148 (American Civil Liberties Union, American Civil Liberties
Union of the District of Columbia, Cato Institute, Center for Individual Rights, Electronic Frontier
Foundation, Foundation for Individual Rights and Expression, Institute for Justice, Knight First
Amendment Institute at Columbia University, National Coalition Against Censorship, Reporters
Committee for the Freedom of the Press, Rutherford Institute, and Society for the Rule of Law
Institute); 149 (Bar Associations and Lawyer Membership Associations); 150 (Legal Ethics
Professors); 151 (884 Law Firms); 152 (Former Senior Government Officials); 153 (Litigation
Firms); 154 (Institute for the Rule of Law of the Union Internationale des Avocats); 155 (1129
Law Students and 51 Law Student Organizations).
5
 One firm, Paul, Weiss, Rifkind, Wharton & Garrison LLP, negotiated a deal after executive action
had already been taken against it. In exchange for millions of dollars in promised pro bono legal
services, President Trump rescinded the executive order targeting the firm. ECF No. 51-2
¶¶ 87-97; ECF No. 159-1 ¶¶ 87-97.


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Trump, including ones that “represent the full political spectrum, including [c]onservative ideals,”

ECF No. 51-2 ¶¶ 127, 132, 137, 141; ECF No. 159-1 ¶¶ 127, 132, 137, 141, and further affirmed

that they would not “engage in illegal DEI discrimination and preferences,” ECF No. 51-2 ¶ 141;

ECF No. 159-1 ¶ 141; see generally ECF No. 51-2 ¶¶ 123-47; ECF No. 159-1 ¶¶ 123-47.

       Three other law firms were subject to executive orders like the one targeting Susman, and

each filed suit. On March 6, 2025, President Trump issued Executive Order 14,230, “Addressing

Risks from Perkins Coie LLP.” 90 Fed. Reg. 11781 (Mar. 11, 2025). In Section 1, that order

contends that Perkins Coie “represent[ed] failed Presidential candidate Hillary Clinton,” “hired

Fusion GPS, which then manufactured a false ‘dossier’ designed to steal an election,” and “worked

with activist donors including George Soros to judicially overturn . . . election laws,” and in

Sections 2 through 6, it imposes restrictions on Perkins Coie akin to those placed on Susman. Id.

Perkins Coie quickly moved for a temporary restraining order as to Sections 1, 3, and 5 of

Executive Order 14,230, which the court granted. Order, Perkins Coie LLP, No. 25-CV-716, 2025

WL 782889 (D.D.C. Mar. 12, 2025), ECF No. 21. On May 2, 2025, the court granted summary

judgment to Perkins Coie, concluding that Executive Order 14,230 violates the First, Fifth, and

Sixth Amendments to the U.S. Constitution. Perkins Coie LLP, No. 25-CV-716, 2025 WL

1276857, at *49 (D.D.C. May 2, 2025). The court permanently enjoined the order in its entirety.

Id.

       On March 25, 2025, President Trump issued Executive Order 14,246, “Addressing Risks

from Jenner & Block.” 90 Fed. Reg. 13997 (Mar. 28, 2025). That order accuses Jenner of

“support[ing] attacks against women and children based on a refusal to accept the biological reality

of sex, and back[ing] the obstruction of efforts to prevent illegal aliens from committing horrific

crimes and trafficking deadly drugs within our borders.” Id. Jenner sought a temporary restraining




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order against Sections 1, 3, and 5 of Executive Order 14,246, which the court largely granted.

Order, Jenner & Block LLP, No. 25-CV-916, 2025 WL 942426 (D.D.C. Mar. 28, 2025), ECF

No. 9. On May 23, 2025, the court granted summary judgment to Jenner, concluding that

Executive Order 14,246 violates the First Amendment. Jenner & Block LLP, No. 25-CV-916,

2025 WL 1482021, at *26 (D.D.C. May 23, 2025). The court permanently enjoined the order in

full. Id.

        On March 27, 2025, President Trump issued Executive Order 14,250, “Addressing Risks

from WilmerHale.” 90 Fed. Reg. 14549 (Apr. 3, 2025). That order contends that WilmerHale

“employ[s] lawyers who weaponize the prosecutorial power to upend the democratic process and

distort justice.” Id. WilmerHale sought a temporary restraining order enjoining enforcement of

the order, which the court granted as to Sections 3 and 5. Order, Wilmer Cutler Pickering Hale &

Dorr LLP, No. 25-CV-917, 2025 WL 946979 (D.D.C. Mar. 28, 2025), ECF No. 10. On May 27,

2025, the court granted summary judgment to WilmerHale, concluding that Executive

Order 14,250 violates the First, Fifth, and Sixth Amendments and is ultra vires. Wilmer Cutler

Pickering Hale & Dorr LLP, No. 25-CV-917, 2025 WL 1502329, at *33-34 (D.D.C. May 27,

2025). As with the courts considering the Perkins Coie and Jenner orders, the court permanently

enjoined the WilmerHale order in its entirety. Id.

        In anticipation of additional executive orders targeting law firms, the American Bar

Association (“ABA”) filed suit to challenge the “Law Firm Intimidation Policy”—“a series of

materially identical executive orders designed to severely damage . . . and intimidate . . . firms and

lawyers” to “abandon clients, causes, and policy positions the President does not like.” Compl.,

Am. Bar Ass’n v. Exec. Off. of President, No. 25-CV-1888, ECF No. 1 ¶ 4 (D.D.C. June 16, 2025).

The ABA has asked the court to declare the policy unconstitutional and enjoin the federal




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government from implementing and enforcing the policy against the ABA or its members. Id.

¶¶ 269-78.


                                 II.     LEGAL STANDARDS

                                            A.      Rule 8

       Rule 8(a) of the Federal Rules of Civil Procedure requires that a complaint include: (1) “a

short and plain statement of the grounds for the court’s jurisdiction”; (2) “a short and plain

statement of the claim showing that the pleader is entitled to relief”; and (3) “a demand for the

relief sought.” Fed. R. Civ. P. 8(a) The rule ensures that defendants have “notice of what

the . . . claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

545 (2007) (alteration in original) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). A

complaint that is “excessively long, rambling, disjointed, incoherent, or full of irrelevant and

confusing material” or that “contains an untidy assortment of claims that are neither plainly nor

concisely stated, nor meaningfully distinguished from bold conclusions, sharp harangues[,] and

personal comments” will fail to meet Rule 8’s pleading standard. Jiggetts v. District of Columbia,

319 F.R.D. 408, 413 (D.D.C. 2017) (quoting T.M. v. District of Columbia, 961 F. Supp. 2d 169,

174 (D.D.C. 2013)), aff’d sub nom., Cooper v. District of Columbia, No. 17-7021, 2017 WL

5664737 (D.C. Cir. Nov. 1, 2017).


                                       B.        Rule 12(b)(1)

       “Federal courts are courts of limited jurisdiction,” and it is generally presumed that “a cause

lies outside [of] this limited jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

375, 377 (1994). Under Federal Rule of Civil Procedure 12(b)(1), the court must dismiss an action

unless the plaintiff can establish, by a preponderance of the evidence, that the court possesses

subject-matter jurisdiction. Green v. Stuyvesant, 505 F. Supp. 2d 176, 177 (D.D.C. 2007). In


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reviewing such a motion, the court “is not limited to the allegations set forth in the complaint” and

“may consider materials outside the pleadings.” Morrow v. United States, 723 F. Supp. 2d 71, 76

(D.D.C. 2010) (quoting Jerome Stevens Pharms., Inc. v. Food & Drug Admin., 402 F.3d 1249, 1253

(D.C. Cir. 2005)). Additionally, when reviewing a motion to dismiss pursuant to Rule 12(b)(1), the

court is required to “assume the truth of all material factual allegations in the complaint and

‘construe the complaint liberally, granting plaintiff the benefit of all inferences that can be derived

from the facts alleged.’” Am. Nat’l Ins. Co. v. Fed. Deposit Ins. Corp., 642 F.3d 1137, 1139

(D.C. Cir. 2011) (quoting Thomas v. Principi, 394 F.3d 970, 972 (D.C. Cir. 2005)).


                                        C.      Rule 12(b)(6)

       Under Rule 12(b)(6), the court will dismiss a complaint that does not “contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. In evaluating a motion under

Rule 12(b)(6), a court accepts all well-pleaded factual allegations in the complaint as true. See

Erickson v. Pardus, 551 U.S. 89, 94 (2007); see also Atherton v. D.C. Off. of Mayor, 567 F.3d 672,

681 (D.C. Cir. 2009). Although the plausibility standard does not require “detailed factual

allegations,” it “requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Twombly, 550 U.S. at 555. Nor will “‘naked

assertion[s]’ devoid of ‘further factual enhancement’” suffice. Iqbal, 556 U.S. at 678 (alteration

in original) (quoting Twombly, 550 U.S. at 557).

       In determining whether a complaint states a claim, a court may consider only the facts

alleged in the complaint and “any documents either attached to or incorporated in the complaint



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and matters of which [the court] may take judicial notice.” N. Am. Butterfly Ass’n v. Wolf, 977

F.3d 1244, 1249 (D.C. Cir. 2020) (alteration in original) (quoting Hurd v. District of Columbia,

864 F.3d 671, 678 (D.C. Cir. 2017)).


                                          D.      Rule 56

       Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). Where the parties do not dispute any material facts, as is the case here, the case is

“particularly amenable to resolution on summary judgment” because all that remains is the

application of law. W & T Travel Servs., LLC v. Priority One Servs., Inc., 69 F. Supp. 3d 158, 164

(D.D.C. 2014).


                                       III.    DISCUSSION

       In its ten-count complaint, Susman alleges that the Order violates the First Amendment

because it retaliates against the firm for protected expression (Count I), ECF No. 178 ¶¶ 141-52;

constitutes impermissible viewpoint discrimination (Count II), id. ¶¶ 153-61; interferes with the

firm’s right to petition the government (Count III), id. ¶¶ 162-67; interferes with the firm’s right

of free association (Count IV), id. ¶¶ 168-74; and places unconstitutional conditions on

government contracts in violation of both the First Amendment and the Spending Clause

(Count V), id. ¶¶ 175-81. Susman further contends that the Order violates the Fifth Amendment’s

guarantees of procedural due process (Count VI), id. ¶¶ 182-90; fair notice (Count VII), id.

¶¶ 191-97; the right to counsel (Count VIII), id. ¶¶ 198-202; and equal protection (Count IX), id.

¶¶ 203-11; and that it violates the Constitution’s separation of powers and is ultra vires (Count X),

id. ¶¶ 212-20.




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       Defendants seek dismissal of the complaint, raising threshold standing and procedural

arguments concerning some of Susman’s claims and challenging the sufficiency of the firm’s

allegations in support of others. ECF No. 180. While Federal Rule of Civil Procedure 12(b) directs

a defendant to assert “[e]very defense to a claim for relief” in its motion to dismiss, Fed. R. Civ.

P. 12(b) (emphasis added), Defendants curiously do not organize their motion to address Susman’s

complaint count-by-count but instead defend the Order section-by-section, see generally ECF

No. 180. Susman opposes Defendants’ motion to dismiss and argues that it is entitled to summary

judgment and a permanent injunction against the Order in its entirety. ECF No. 181. To avoid

potential redundancies created by Defendants’ peculiar approach to their motion to dismiss, the

court will proceed by first considering Defendants’ threshold standing and procedural arguments

on a section-by-section basis, next addressing—jointly—Defendants’ disputes with the sufficiency

of Susman’s allegations and Susman’s arguments in support of summary judgment, and finally

determining whether Susman is entitled to a permanent injunction on any of its claims.


             A.      None of Defendants’ Threshold Arguments Precludes Relief

                                         1.      Section 1

       As noted, Section 1 states that Susman “engage[s] in activities detrimental to critical

American interests,” “spearheads efforts to weaponize the American legal system and degrade the

quality of American elections[,] . . . funds groups that engage in dangerous efforts to undermine

the effectiveness of the United States military through the injection of political and radical

ideology, and . . . supports efforts to discriminate on the basis of race.” Order § 1. On this basis,

President Trump has “determined that action is necessary to address the significant risks, egregious

conduct, and conflicts of interest associated with Susman.” Id.




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       Defendants move to dismiss Susman’s claims concerning Section 1, arguing that the

language contained therein “is simply government speech” and “is exempt from First Amendment

scrutiny.” ECF No. 174, at 1, 3 (quoting Johanns v. Livestock Mktg. Ass’n, 544 U.S. 550, 553

(2005)); see ECF No. 58-1, at 12. Susman responds that, while “a President is ‘entitled to say

what [he] wishes,’” the statements in Section 1 go beyond “mere presidential musing.” ECF

No. 158, at 34 (alteration in original) (quoting Pleasant Grove City v. Summum, 555 U.S. 460,

467-68 (2009)). Susman identifies two ways in which Section 1 gives rise to actionable claims.

First, Susman argues that the official findings in Section 1 “imbue every substantive provision of

the Order with its operative effect” and “lay[] the predicate—and set[] the government policy—

that will justify (even require) agencies’ decisions to terminate contracts involving Susman or its

clients.” Id. Second, Susman contends that even if Section 1 were the entirety of the Order, it

would still be actionable because federal agencies may rely on the official factual findings

contained therein to take adverse action against the firm and because it has inflicted reputational

harm that has damaged the firm’s ability to attract and retain clients. See Hr’g Tr. at 9:13-11:8.

       The court agrees with Susman. As the Supreme Court made clear in National Rifle Ass’n

of America v. Vullo, 602 U.S. 175 (2024), “[a] government official can share h[is] views freely

and criticize particular beliefs, and []he can do so forcefully in the hopes of persuading others to

follow h[is] lead. What []he cannot do, however, is use the power of the State to punish or suppress

disfavored expression.” Id. at 188. In instances where a plaintiff alleges the latter, the court is

called “to scrutinize” the “application of state power” in question. Id. (quoting NAACP v. Alabama

ex rel. Patterson, 357 U.S. 449, 463 (1958)).

       While Defendants describe Susman as attempting to “silence the Government’s . . .

opinions” because it “does not like what the current Administration thinks about [it],” this




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mischaracterizes the relief that the firm is seeking. ECF No. 58, at 12. Susman is not asking the

court to “muzzl[e] the Executive” by enjoining the President’s speech. Id. at 1. Instead, it asks

the court to enjoin Defendants “from implementing or giving effect to the Order in any way,

including by relying on any of the statements in Section 1.” ECF No. 178, at 118. In this way,

Susman is asking the court to “scrutinize” the “application of state power” for evidence of an

unconstitutional attempt to coerce. NAACP, 357 U.S. at 463. This aligns perfectly with the kind

of claim contemplated in Vullo, and Susman may therefore proceed with its claims related to

Section 1.


                                        2.     Section 2

       Section 2(a) of the Order directs the Attorney General, the Director of National

Intelligence, and “all other relevant heads of executive departments and agencies” to “immediately

take steps consistent with applicable law to suspend any active security clearances held by

individuals at Susman, pending a review of whether such clearances are consistent with the

national interest.” Order § 2(a). The mandate applies to all Susman personnel, whether attorneys

or staff, and it does not differentiate between individuals who hold security clearances in

connection with their work at the firm or in another context—such as one attorney’s security

clearance in connection with his military service. ECF No. 51-3 ¶ 79. Section 2(b) of the Order

directs the Office of Management and Budget to “identify all Government goods, property,

material, and services, including Sensitive Compartmented Information Facilities, provided for the

benefit of Susman,” and instructs any agency heads providing such goods to, “to the extent

permitted by law, expeditiously cease such provision.” Order § 2(b).

       Defendants raise two threshold arguments for dismissing the counts concerning Section 2.

First, they assert that the blanket suspension of security clearances under Section 2 is “not



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judicially reviewable” in light of “governing D.C. Circuit precedent”—specifically Lee v. Garland,

120 F.4th 880 (D.C. Cir. 2024), in which the D.C. Circuit concluded that “an Executive Branch

decision to deny or revoke a security clearance” was not reviewable in court, id. at 891. ECF

No. 58-1, at 12-13. Susman responds that Lee does not extend so broadly as to foreclose its

constitutional challenges to Defendants’ blanket revocation of its employees’ security clearances

divorced from national security concerns. ECF No. 158, at 35-37.

       The court agrees that Lee does not bar its review of Susman’s claims regarding Section 2

of the Order. Lee concerned an individual employee’s challenge to the denial of his security

clearance, which the D.C. Circuit held was nonjusticiable because “the decision whether to grant

an employee a security clearance [is] ‘a sensitive and inherently discretionary judgment call [that]

is committed by law to the appropriate agency of the Executive Branch.’” 120 F.4th at 886

(quoting Dep’t of Navy v. Egan, 484 U.S. 518, 527 (1988)). In so holding, the D.C. Circuit did

not foreclose any challenge “simply because it tangentially relates to a security clearance,” id.

at 892, which is in keeping with other D.C. Circuit precedent explaining that “[i]t is simply not the

case that all security-clearance decisions are immune from judicial review,” Nat’l Fed’n of Fed.

Emps. v. Greenberg, 983 F.2d 286, 289 (D.C. Cir. 1993). In Greenberg, the D.C. Circuit

determined that it could consider the constitutionality of asking applicants for a security clearance

about their history of drug use and mental health because (1) the plaintiffs’ “alleged injuries—the

compelled disclosure of incriminating or private facts—[] existed regardless of how the

government might have resolved any particular application,” and (2) the plaintiffs “did not seek

review of ‘discretionary judgments’ regarding the merits of any ‘particular employee’s security

clearance.’” Lee, 120 F.4th at 893 (quoting Greenberg, 983 F.2d at 290). That is precisely the

situation here. Susman’s alleged constitutional injuries exist independent of any final decision on




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whether to reinstate any individual employee’s security clearance. Susman is not seeking to review

any discretionary judgment about an individual security clearance but is instead raising a

constitutional challenge to President Trump’s blanket policy of revoking all its employees’

clearances.

       Second, Defendants argue that Susman’s challenges to Section 2 are not ripe yet because

the revocation of its employees’ security clearances is “pending a review whether such clearances

are consistent with the national interest.” ECF No. 58-1, at 14 (quoting Order § 2(a)). Defendants

maintain that “[u]ntil any clearance suspension is accomplished consistent with applicable law[]

and then reviewed consistent with applicable law and a further security clearance determination

made, any dispute is premature for judicial consideration.” ECF No. 58-1, at 15. Again, the court

is not convinced. Section 2 of the Order directs the revocation of Susman employees’ security

clearances “immediately,” Order § 2(a), which creates a here-and-now injury independent of the

outcome of any individualized post-deprivation process. See Doe v. Cheney, 885 F.2d 898, 910

(D.C. Cir. 1989) (holding that due process entitled the plaintiff to a “meaningful opportunity to

contest” allegations before revocation of a security clearance).


                                         3.      Section 3

       Section 3 of the Order requires government contractors to “disclose any business they do

with Susman and whether that business is related to the subject of the Government contract.”

Order § 3(a). It further instructs agency heads to “review all contracts with Susman or with entities

that disclose doing business with Susman” and “[t]o the extent permitted by law . . . take

appropriate steps to terminate any contract . . . for which Susman has been hired to perform any

service.” Id. § 3(b).




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       Defendants argue that Susman does not have standing to bring claims related to Section 3

because the firm has not alleged an injury-in-fact that is “concrete and particularized,” “actual or

imminent,” or traceable to Defendants’ actions. ECF No. 58, at 18 (quoting Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560-61 (1992)). Specifically, Defendants discount as “speculative,” ECF

No. 58-1, at 20, Susman’s arguments that Section 3 pressures the firm’s existing clients to “sever

or cut back on their relationship with Susman by requiring them to reveal any business they do

with the Firm,” “threaten[s] them with loss of government contracts that are almost certainly

important to their businesses if they maintain their relationships with Susman,” ECF No. 158, at 5,

and discourages prospective clients from retaining the firm “for fear that doing so would risk

unacceptable restrictions on their contracting work,” id. at 6. To be sure, Susman has not identified

a current client that has severed ties with the firm or a prospective client that has declined to engage

the firm on the basis of Section 3, but that is hardly surprising given the court’s issuance of a

temporary restraining order less than a week after the Order’s publication. The relevant question

for standing purposes is whether such harms are “actual or imminent,” Lujan, 504 U.S. at 560

(quoting Whitmore v. Arkansas, 495 U.S. 149, 155 (1990)), and, here, Susman has sufficiently

alleged both. Susman alleges that Section 3 is chilling its current and prospective attorney-client

relationships in the here-and-now, ECF No. 178 ¶¶ 171-72, and that clients are inquiring about

how the Order will affect the firm’s ability to represent them, ECF No. 51-3 ¶ 70. These harms

are directly tied to Section 3, thereby establishing traceability. Accordingly, Susman has standing

to challenge Section 3 of the Order. 6


6
  Defendants further argue that Susman “has not demonstrated standing to challenge Section 3
insofar as it regulates its clients.” ECF No. 58-1, at 17. If Defendants are arguing that Susman is
not likely to suffer harm as a result of Section 3, that argument fails for the reasons described. If
Defendants are instead suggesting that Susman does not have third-party standing to challenge the
restrictions on its clients’ access to counsel, that argument is foreclosed by well-established



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                                         4.      Section 4

       Section 4 states, in its entirety, that “[n]othing in this order shall be construed to limit the

action authorized by section 4 of Executive Order 14230 of March 6, 2025 (Addressing Risks from

Perkins Coie LLP).” Order § 4. The relevant portion of Executive Order 14,230 instructs that:

               (a) The Chair of the Equal Employment Opportunity Commission
               shall review the practices of representative large, influential, or
               industry leading law firms for consistency with Title VII of the Civil
               Rights Act of 1964, including whether large law firms: reserve
               certain positions, such as summer associate spots, for individuals of
               preferred races; promote individuals on a discriminatory basis;
               permit client access on a discriminatory basis; or provide access to
               events, trainings, or travel on a discriminatory basis.

               (b) The Attorney General, in coordination with the Chair of the
               Equal Employment Opportunity Commission and in consultation
               with State Attorneys General as appropriate, shall investigate the
               practices of large law firms as described in subsection (a) of this
               section who do business with Federal entities for compliance with
               race-based and sex-based non-discrimination laws and take any
               additional actions the Attorney General deems appropriate in light
               of the evidence uncovered.

Exec. Order No. 14,230 § 4. Defendants argue that Susman has failed to sufficiently allege an

injury that is traceable to Section 4 and redressable by the court. ECF No. 58, at 24-27. They

contend that the Order “merely cross-references” Executive Order 14,230, which in turn only

instructs the Equal Employment Opportunity Commission to carry out tasks that it is

“already . . . supposed to be doing.” Id. at 25 (emphasis omitted). In Defendants’ view, because

the Commission has not yet taken any action against Susman pursuant to the Order—and because

any action would, in any case, be a part of the Commission’s statutory duties—Susman has not

suffered an injury that the court may remedy. Id. at 24-25.


precedent. See Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 624 n.3 (1989)
(granting a law firm third-party standing to challenge a drug-forfeiture statute on behalf of an
existing client); U.S. Dep’t of Lab. v. Triplett, 494 U.S. 715, 720-21 (1990) (allowing an attorney
to invoke the rights of clients to challenge a fee-restriction statute).


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       The court disagrees. Susman alleges that the “threat[] [of] targeted investigations by the

Equal Employment Opportunity Commission and Attorney General, with the prospect of potential

prosecution,” is retaliation for First Amendment activity that “damages Susman Godfrey’s

reputation, with attendant harm to client relationships and Firm business prospects.” ECF No. 178

¶ 148. The firm also explains that it is only being targeted because of “the viewpoint that the Order

attributes to [it]” in Section 1. Id. ¶ 156. These are allegations of actual harm that are traceable to

Section 4, plain and simple. The court, of course, cannot redress these injuries by enjoining any

otherwise-legitimate investigation into Susman. But, as the parties agreed at the May 8 hearing,

should the court find that there have been violations of the First Amendment, it may enjoin the

Commission and the Attorney General from commencing an investigation on the basis of the

Order. Thus, because Susman has alleged injuries that are traceable to Section 4 and can be

remedied by the court, it may proceed on its claims concerning Section 4.


                                          5.      Section 5

       Section 5(a) of the Order directs agency heads to “provide guidance limiting official access

from Federal Government buildings to employees of Susman” and “limiting Government

employees acting in their official capacity from engaging” with the firm’s employees “when such

access would threaten the national security of or otherwise be inconsistent with the interests of the

United States.” Order § 5(a). Section 5(b) further directs that agency officials shall “refrain from

hiring employees of Susman, absent a waiver from the head of the agency, made in consultation

with the Director of the Office of Personnel Management.” Order § 5(b).

       Defendants raise a ripeness argument concerning Section 5, contending that Susman’s

claims will not be actionable until the agency heads provide the relevant guidance. ECF No. 58-1,

at 27-28. This argument plainly fails with regard to Section 5(b), which does not instruct agency



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heads to issue guidance but instead directs agency heads to “refrain from hiring [Susman]

employees.” Order § 5(b). That mandate could not be clearer: do not hire Susman employees.

Accordingly, Section 5(b) presents a ripe matter for adjudication.

       Defendants’ argument fares no better with regard to Section 5(a). While the guidance

contemplated by Section 5(a) has yet to issue, the Order provides a clear preview of what it will

do: “limit[]” Susman’s employees from entering federal buildings or engaging with federal

employees to “ensure consistency” with the “interests of the United States,” Order § 5(a), because

Susman is engaging in “activities inconsistent with the interests of the United States,” id. § 1.

While the precise contours of those limitations have not been set, any limitation on Susman’s

ability to enter federal buildings and interact with federal officials necessarily threatens the firm

given that nearly one-third of its matters involve federal courts and agencies. ECF No. 178 ¶ 90.

This is precisely the type of imminent injury that confers Susman standing to challenge

Section 5(a).


                                     6.      Shotgun Pleading

       Finally, Defendants criticize the entirety of Susman’s amended complaint as a “shotgun

pleading.” ECF No. 58-1, at 3-4. It is not clear whether they are seeking dismissal on this basis;

however, any such argument would fail because Susman’s amended complaint complies with the

Federal Rules of Civil Procedure. Susman’s pleading begins with an organized series of facts that

provides the necessary background to its claims for relief. ECF No. 178 ¶¶ 1-140. The amended

complaint then sets forth ten counts, each of which references specific facts pertaining to the claim.

Id. ¶¶ 141-220. Accordingly, Susman’s amended complaint provides “sufficient notice of the

nature and grounds of [the plaintiff’s] legal claims.” Jiggetts, 319 F.R.D. at 417 (distinguishing a

“shotgun pleading” as “one in which ‘it is virtually impossible to know which allegations of fact



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are intended to support which claim(s) for relief’” (quoting Kabbaj v. Obama, 568 F. App’x 875,

879 (11th Cir. 2014))).


                        B.      Susman is Entitled to Summary Judgment

          Having dispensed with Defendants’ threshold arguments, the court turns to Defendants’

challenges to the sufficiency of Susman’s claims and Susman’s arguments in support of its motion

for summary judgment. As noted, the parties do not genuinely dispute any material facts, so the

court is left to determine which party has the better legal argument for each count of the complaint.

See ECF Nos. 51-2 & 159-1; Fed. R. Civ. P. 56(a). For the reasons that follow, the court concludes

that Susman is entitled to summary judgment on Counts I-IV and VI-X of its complaint. 7


    1.      First Amendment - Retaliation and Viewpoint Discrimination (Counts I and II)

          “‘[I]f there is any fixed star in our constitutional constellation,’” it is that the First

Amendment’s Free Speech Clause “protect[s] the ‘freedom to think as you will and to speak as

you think.’” 303 Creative LLC v. Elenis, 600 U.S. 570, 584 (2023) (first quoting W. Va. State Bd.

of Educ. v. Barnette, 319 U. S. 624, 642 (1943), then quoting Boy Scouts of Am. v. Dale, 530 U.S.

640, 660-61 (2000)). This protection applies “regardless of whether the government considers [a

person’s] speech sensible and well intentioned or deeply ‘misguided.’” Id. at 587 (quoting Hurley

v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 574 (1995)). That is because

“[a]t the heart of the First Amendment’s Free Speech Clause is the recognition that viewpoint

discrimination is uniquely harmful to a free and democratic society.” Vullo, 602 U.S. at 187. Thus,

the First Amendment prohibits the government from both “impos[ing] prior restraints on speech”


7
  In Count V, Susman argues that Section 3 of the Order violates the First Amendment and the
Spending Clause because it imposes unconstitutional conditions on government contracts. ECF
No. 178 ¶¶ 175-81. Susman does not address this count in its motion for summary judgment, so
the court need not reach it.


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and “from subjecting individuals to ‘retaliatory actions’ after the fact for having engaged in

protected speech” that the government does not favor. Hou. Cmty. Coll. Sys. v. Wilson, 595 U.S.

468, 474 (2022).

        Counts I and II of Susman’s complaint allege that the firm was subjected to unfavorable

treatment in retaliation for and on the basis of its protected speech. ECF No. 178 ¶¶ 141-61. To

succeed on these claims, Susman must establish (1) that it “engaged in conduct protected under

the First Amendment”; (2) that Defendants “took some retaliatory action sufficient to deter a

person of ordinary firmness in plaintiff’s position from speaking again”; and (3) that there is “a

causal link between the exercise of a constitutional right and the adverse action taken against [the

firm].” Aref v. Lynch, 833 F.3d 242, 258 (D.C. Cir. 2016) (quoting Banks v. York, 515 F. Supp.

2d 89, 111 (D.D.C. 2007)). The court concludes that Susman has carried its burden and is entitled

to summary judgment on Counts I and II.


                                      a.      Protected Activity

        It is clear from the face of the Order and the record in this case that the Order was issued

in response to Susman’s First-Amendment-protected activities. The Order explains that it was

motivated by President Trump’s concerns that Susman (1) “spearheads efforts to weaponize the

American legal system and degrade the quality of American elections”; (2) “funds groups that

engage in dangerous efforts to undermine the effectiveness of the United States military through

the injection of political and radical ideology”; and (3) “supports efforts to discriminate on the

basis of race.” Order § 1. The court finds that each of these bases is tied to activity that is protected

by the First Amendment.

        While the Order does not identify which of Susman’s activities purportedly “weaponize[s]

the American legal system and degrade[s] the quality of American elections,” the parties and the



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court agree that this refers to Susman’s representation of Dominion Voting Systems and

government officials in Arizona and Wisconsin in connection with litigation regarding the 2020

election. See Hr’g Tr. at 50:14-56:19; 72:13-22; ECF No. 51-1, at 18-19. It is well established

that “advice from [an] attorney to [a] client and . . . advocacy by the attorney to the courts” is

private speech that is protected by the First Amendment. Legal Servs. Corp. v. Velazquez, 531

U.S. 533, 542-43 (2001). Specifically, “[t]he [F]irst [A]mendment guarantees the[] right to be free

of governmental restraints on ‘political expression’ and that right is violated if the Government

affirmatively interferes with constitutionally protected litigation as a form of political expression.”

Ukrainian-Am. Bar Ass’n v. Baker, 893 F.2d 1374, 1380 (D.C. Cir. 1990).                       Susman’s

representation of particular clients is therefore protected First Amendment activity.

        The Order similarly does not explain what it means by its assertion that Susman “funds

groups that engage in dangerous efforts to undermine the effectiveness of the United States

military through the injection of political and radical ideology.” Order § 1. Susman understands

this provision to refer to a donation that it made to GLBTQ Legal Advocates and Defenders

(“GLAD”), an organization that advocates for—among other things—the equal treatment of gay,

lesbian, and transgender service members. See Hr’g Tr. at 4:14-6:14. Defendants appear to agree

with this interpretation, stating in their briefing that Susman “has provided funds to [GLAD],

which previously sued the Federal Government to enjoin Department of Defense policy, based on

a radical theory of gender ideology,” as support for their contention that Susman “engage[s] in

dangerous efforts to undermine the effectiveness of the United States military.” ECF No. 159,

at 13 n.2. It is settled law that the political speech of corporations, including donations, is protected

by the First Amendment. Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 342-43 (2010)




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(collecting cases). Accordingly, Susman’s donation to GLAD is also protected First Amendment

activity.

        The Order provides some—although scant—support for the accusation that Susman

“engages in unlawful discrimination, including discrimination on the basis of race.” Order § 1.

Specifically, the Order asserts that “Susman administers a program where it offers financial awards

and employment opportunities only to ‘students of color,’” which contravenes the Trump

Administration’s “commit[ment] to ending . . . unlawful discrimination perpetrated in the name of

‘diversity, equity, and inclusion’ policies.” Id. Defendants identify the “program” in question as

the “Susman Godfrey Prize, which provides a cash award and ongoing mentorship from Susman

attorneys to selected ‘students of color.’” ECF No. 159, at 12. The trouble with this argument is

that the parties agree that the Susman Godfrey Prize is a cash prize, which does not include an

offer of employment, and it is thus not covered by Title VII. ECF No. 51-2 ¶¶ 165-66, 168-70;

ECF No. 159-1 ¶¶ 165-66, 168-70. Indeed, at the hearing, Defendants’ counsel agreed that “the

Susman Prize is not an example of unlawful racial discrimination.” Hr’g Tr. at 47:15-49:15.

        Apart from the Susman Godfrey Prize—the only discriminatory practice alleged in the

Order—Defendants also appear to take issue with (1) a “statement on [Susman’s] website

describing diversity as ‘one of the firm’s core values’”; (2) the fact that Susman “operates a

‘Diversity Committee’ that ‘regularly meets to discuss and execute diversity-related initiatives,’

focuses on ‘recruiting and supporting lawyers who identify as members of groups

underrepresented in today’s legal profession,’ and advances ‘work first initiated by the Racial

Justice Working Group’”; and (3) the fact that Susman is a signatory to “a Gender Fairness

Commitment statement, which includes the explicit goal ‘to achieve gender parity’” in law firm

wages. ECF No. 159, at 12-13; see ECF No. 159-2, at 4-11. In their briefing, Defendants maintain




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that these are “precisely the sort of racial and gender considerations prohibited by civil rights

laws,” ECF No. 159, at 13, but at the motions hearing, Defendants conceded that “increasing

parity . . . [and] pay[ing] people that do the same work[] similar salaries” “wouldn’t be

objectionable” unless an unlawful quota for underrepresented groups was enforced, Hr’g Tr.

at 45:12-17. Defendants point to no evidence of any such practice, and statements on the Susman

website that merely evince a general commitment to diversity and gender parity do not suggest

that one exists. In the absence of any plausible allegations of unlawful discrimination, Susman’s

statements on its website are speech plainly protected by the First Amendment.


                                    b.      Retaliatory Action

       Susman has amply demonstrated that Defendants’ actions were “sufficient to deter a person

of ordinary firmness in plaintiff’s position from speaking again.” Aref, 833 F.3d at 258. Indeed,

this court previously granted Susman’s motion for a temporary restraining order because of the

irreparable harm that it anticipated would befall the firm in the absence of relief. See Susman

Godfrey LLP v. Exec. Off. of President, No. 25-CV-1107, 2025 WL 1113408, at *1 (D.D.C.

Apr. 15, 2025). That preliminary finding is further validated by the efforts of several other peer

law firms to avoid precisely the consequences that have befallen Susman here. For example, Paul

Weiss was targeted by an Executive Order virtually identical to the one in the instant case. See 90

Fed. Reg. 13039. Instead of suffering the financial and reputational consequences of that order,

Paul Weiss negotiated a deal with the Trump Administration that involves

               adopting a policy of political neutrality with respect to client
               selection and attorney hiring; taking on a wide range of pro bono
               matters representing the full political spectrum; committing to
               merit-based hiring, promotion, and retention, instead of “diversity,
               equity, and inclusion” policies; dedicating the equivalent of $40
               million in pro bono legal services during [President Trump’s] term
               in office to support causes including assisting our Nation’s veterans,



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               fairness in the justice system, and combating anti-Semitism; and
               other similar initiatives.

Addressing Remedial Action by Paul Weiss, Exec. Order No. 14,244 § 1, 90 Fed. Reg. 13685

(Mar. 26, 2025). And rather than risk being targeted by President Trump, several other reputable

firms negotiated agreements with the White House regarding their pro bono work and diversity,

equity, and inclusion practices. ECF No. 178 ¶¶ 123-47; see supra Part I.D.

       Defendants do not seriously contend that the Order is not intended to adversely affect

Susman. Instead, they argue that their actions cannot be understood as retaliatory because the

government is acting as a contractor “with an eye toward[] an undisputed federal interest,” rather

than as a sovereign with an intent to punish. ECF No. 159, at 9. 8 They maintain that the federal

government may “choose with whom it will do business . . . [based on] the fulfillment of its public

policy goals, including those involving national security and civil rights.” Id. at 10.

       As support, Defendants invoke Board of County Commissioners v. Umbehr, 518 U.S. 668,

671 (1996), which, in their view, instructs that “that courts should refrain from striking otherwise

constitutional acts due to allegations of improper motivations,” ECF No. 159, at 9. But that is not

an accurate description of Umbehr’s holding. In Umbehr, a waste disposal contractor brought a

retaliation claim against his county employer when his contract was terminated after he criticized

the county and its board of commissioners. 518 U.S. at 671-72. The Supreme Court determined




8
  For this reason, Defendants believe that Vullo is inapposite. In their view, “Vullo addressed a
potential First Amendment violation where the state used its sovereign regulatory powers to
threaten private actors with enforcement actions in an attempt to discourage disfavored
speech . . . [but] [t]his Executive Order carries with it none of the force of the powers exhibited in
Vullo.” ECF No. 159, at 9. But Vullo makes no distinction as to which capacity—sovereign,
contractor, or otherwise—in which the government operates. Its holding is the same regardless:
while “[a] government official can share h[is] views freely and criticize particular beliefs, . . . []he
cannot . . . use the power of the State to punish or suppress disfavored expression.” Vullo, 602
U.S. at 188.


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that while “independent contractors do enjoy some First Amendment protection,” a court must

evaluate whether the government’s “legitimate interests as contractor, deferentially viewed,

outweigh the free speech interests at stake.” Id. at 685. The case is not analogous because Susman

is not a government contractor—instead, it represents several entities “that contract or otherwise

do business with the federal government, or have affiliates who are government contractors and

subcontractors.” ECF No. 51-2 ¶ 28; ECF No. 159-1 ¶ 28. For this reason, the balancing test laid

out in Umbehr is not applicable at all, and the regular standard for First Amendment retaliation

applies. 9

        Thus, while it may be true that the government has a greater degree of discretion when it

operates as a contractor, that is beside the point. Whether the executive is operating as a sovereign,

contractor, landlord, or employer, it must comply with the Constitution. And as Defendants’

counsel conceded at argument, the mere fact that the government has the right to exercise

discretion does not immunize retaliatory intent. See Hr’g Tr. at 36:18-37:2.


                                         c.      Causal Link

        Finally, the record offers sufficient evidence to conclude that there is “a causal link between

the exercise of a constitutional right and the adverse action taken against [Susman].” Aref, 833

F.3d at 258 (quoting Banks, 515 F. Supp. 2d at 111). As discussed, the Order’s three stated reasons

for enactment all hinge on Susman’s protected speech, and nothing in the Order or its

accompanying fact sheet suggests that there is any other governmental interest that may be served

if the Order is permitted to take effect. See supra Part III.B.1.a; ECF No. 51-7. The context in




9
  Even if Umbehr’s balancing test did apply, the government has not established any “legitimate
interests” here that could possibly outweigh Susman’s weighty free speech interests. See infra
Part III.B.1.c.


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which the Order was issued, as well as an examination of each section of the Order itself, makes

clear that the adverse consequences of the Order are tied to Susman’s First-Amendment-protected

activity.

        Section 2. The record indicates that the Order’s command that the Attorney General,

Director of National Intelligence, and other agency heads “immediately take steps consistent with

applicable law to suspend any active security clearances held by individuals at Susman, pending a

review of whether such clearances are consistent with the national interest,” Order § 2(a), is

impermissibly tied to Susman’s protected activity. First, based on the Order and Defendants’

arguments, it is not clear what “national interest” is served by the revocation of Susman’s

employees’ security clearances. Defendants gesture towards the Order’s accusation that Susman

“funds groups that engage in dangerous efforts to undermine the effectiveness of the United States

military through the injection of political and radical ideology,” ECF No. 58, at 13-14 (quoting

Order § 1), as a basis for the suspension of security clearances, but, as discussed, the only example

they offer to substantiate this serious claim is a one-time donation to GLAD Law, an advocacy

organization. Defendants offer absolutely no evidence to support their claim that this donation is

a “dangerous effort[] to undermine the effectiveness of the United States military.” Order § 2.

        The presence of nearly identical clauses in several executive orders targeting other law

firms 10 further confirms that the security-clearance provision is intended as a retaliatory measure.

Perhaps most revealing is the fact that the Paul Weiss executive order included a nearly identical

provision, see Exec. Order No. 14,237 § 2, 90 Fed. Reg. at 13039, that was walked back by the




10
  See Addressing Risks from WilmerHale, Exec. Order No. 14,250, 90 Fed. Reg. 14549 (Apr. 3,
2025); Addressing Risks from Jenner & Block, Exec. Order No. 14,246, 90 Fed. Reg. 13997
(Mar. 28, 2025); Addressing Risks from Perkins Coie LLP, Exec. Order No. 14,230, 90 Fed. Reg.
11781 (Mar. 11, 2025).


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government as soon as Paul Weiss agreed to “adopt[] a policy of political neutrality with respect

to client selection and attorney hiring; tak[e] on a wide range of pro bono matters representing the

full political spectrum; commit[] to merit-based hiring, promotion, and retention . . . dedicat[e] the

equivalent of $40 million in pro bono legal services during [President Trump’s] term in office . . . ;

and other similar initiatives.” Id. § 1, 90 Fed. Reg. at 13685. No facet of this agreement touches

on national security at all; instead, each provision addresses a policy disagreement that the Trump

Administration had with Paul Weiss’s work. Defendants’ identical approach to the suspension of

clearances in this case—which revokes any and all clearances held by Susman employees—further

supports the court’s conclusion that the government’s action is retaliatory.

       As Defendants themselves point out, “‘[c]learance decisions involve an assessment of

intangible qualities such as loyalty to the United States, strength of character, trustworthiness,

honesty, reliability, discretion, and sound judgment.’ And such decisions also ‘involve predictive

judgment about whether individuals are likely to divulge sensitive information under compulsion

of circumstances or for other reasons, which is an inexact science at best.’” ECF No. 159, at 6

(citation omitted) (quoting Lee, 120 F.4th at 893). In other words, decisions regarding clearances

are individual determinations that depend on a host of person-specific factors. The government’s

departure from the well-trodden path of individualized determination in favor of wholesale

revocation—without even an ounce of supporting evidence for the court to evaluate—raises red

flags and leads the court to believe that the only plausible motivation for Section 2 is retaliation.

       Section 3. Section 3 states on its face that it is causally tied to several of Susman’s

activities. It explains that the government wishes to “prevent the transfer of taxpayer dollars to

Federal contractors whose earnings subsidize, among other things, activities that are not aligned

with American interests, including racial discrimination.” Order § 3(a). But, as the court has laid




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out, the activities that the Order contemplates—which include litigation concerning the 2020

election, a donation to GLAD Law, an academic prize that is not covered by Title VII, and general

statements about diversity on Susman’s website—are all plainly protected by the First

Amendment. See supra Part III.B.1.a. Defendants cannot target Susman for those activities

simply because it does not like them. And to the extent that Defendants argue that the Order is not

intended as a punitive measure, but as a legitimate exercise of the government’s discretion when

it acts as a contractor, the court reiterates that the government is still required to comply with the

Constitution when it acts as a contractor. See supra Part III.B.1.b.

       Section 4. Defendants argue that Susman cannot show a causal link between the Order’s

threatened investigation by the Equal Employment Opportunity Commission and Susman’s

protected activity (1) because Susman has not yet received an inquiry letter from the Chair of the

Commission; and (2) because the government had already been taking action—evinced by

Executive Order 14,173, 90 Fed. Reg. 8633 (Jan. 31, 2025) (“Ending Illegal Discrimination and

Restoring Merit-Based Opportunity”), and publicly announced federal priorities—to “root[] out

unlawful DEI-motivated race and sex discrimination.” ECF No. 159, at 16 (quoting Press Release,

Equal Employment Opportunity Commission, President Appoints Andrea R. Lucas EEOC Acting

Chair (Jan. 21, 2025)).

       Neither of these arguments holds water. While it is true that Susman has not yet received

an inquiry from the Equal Employment Opportunity Commission, that is cold comfort given that

the fact sheet accompanying the Order indicates that an investigation is forthcoming. See ECF

No. 51-7 (“The practices of Susman will be reviewed under Title VII to ensure compliance with

civil rights laws against racial bias.” (emphasis added)). And Defendants’ actions to legitimately

address actual instances of race- and sex-based discrimination elsewhere do not help it here, where




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it can point to no basis for an investigation into Susman except for lawful statements that the firm

has made about diversity with which the government disagrees. See supra Part III.B.1.a.

       Section 5. To defend Section 5’s command that agency heads issue guidance limiting

Susman employees’ access to federal buildings (presumably including courts), instructing

government employees not to “engag[e] with” Susman employees, and forbidding agency officials

from hiring Susman employees absent a waiver from an agency head, Defendants rest only on a

threadbare invocation of “the national security and other interests of the United States,” Order

§ 5(a), and speculation that “[s]urely some [f]ederal facilities, contacts, and employment positions

require tighter restrictions than others based on national security concerns.” ECF No. 159, at 17.

But just as with earlier sections, Defendants offer no evidence to remotely support the idea that

there is any interest (national-security-related or otherwise) that is implicated by Susman

employees’ entry into federal buildings, or federal employees’ interaction with, or hiring of,

Susman employees—much less one that requires intervention of the sort described in the Order.

       Defendants protest that the text of Section 5 does not affirmatively place these restrictions

on Susman employees, but rather, calls on agency heads to issue guidance to this effect. ECF

No. 159, at 17. They contend that “scenarios such as all Susman attorneys being barred from

courtroom practice is, currently, the stuff of imagination.” Id. The court is unconvinced. While

the government argues that eventual guidance may not realize the full extent of the restrictions that

the Order contemplates, the White House’s fact sheet states outright that the “[f]ederal

[g]overnment will . . . restrict [Susman] employees’ access to government buildings” and

“[f]ederal [a]gencies will also refrain from hiring Susman employees unless specifically

authorized.” ECF No. 51-7 (emphases added). Any reassurance that the Order’s limitation on

Susman employees’ access to federal buildings only applies when “access would threaten the




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national security of or otherwise be inconsistent with the interests of the United States” falls flat

in the larger context of the Order—particularly Section 1, which makes findings that Susman

“engage[s] in activities detrimental to critical American interests [and] should not have access to

our Nation’s secrets.” Order § 1. And because Defendants have offered no plausible explanation

for the extraordinary action contemplated by Section 5—which, on its face, could go as far as

banning Susman lawyers from courtrooms, post offices, and military bases—the court determines

that the record can only support the conclusion that Section 5 was motivated by retaliatory intent. 11

                                              *        *      *

       The court concludes that the Order constitutes unlawful retaliation against Susman for

activities that are protected by the First Amendment, including its representation of certain clients,

its donations to certain causes, and its expression of its beliefs regarding diversity. Susman is

therefore entitled to summary judgment on Counts I and II.


                2.      First Amendment - Freedom of Association (Count III)

       In Count III, Susman argues that Section 3’s requirement that agencies require

“[g]overnment contractors to disclose any business they do with Susman and whether that business

is related to the subject of the Government contract” and its directive to agency heads to review

and “take appropriate steps to terminate” “all contracts with Susman or with entities that disclose

doing business with Susman” is intended to chill Susman’s clients’ freedom of association. ECF

No. 51-1, at 23. Defendants respond only that a “disclosure requirement limited to a subset of

government contractors is far afield from core associational rights,” ECF No. 159, at 14, especially

given that the Order applies to a small number of government contractors, all of whom are already



11
   To the extent that Defendants’ arguments regarding the lawfulness of Section 5 sound in
ripeness, the court has dispensed with those concerns above. See supra Part III.A.5.


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subject to substantial disclosure requirements as a condition of doing business with the Federal

Government,” ECF No. 58-1, at 23. The court disagrees.

       It has “long [been] understood as implicit in the right to engage in activities protected by

the First Amendment a corresponding right to associate with others.” Roberts v. U.S. Jaycees, 468

U.S. 609, 622 (1984). The Supreme Court has “noted that ‘[i]t is hardly a novel perception that

compelled disclosure of affiliation with groups engaged in advocacy may constitute as effective a

restraint on freedom of association as [other] forms of governmental action,’” and it has

accordingly held that “the First Amendment prohibit[s] such compelled disclosure.” Ams. for

Prosperity Found. v. Bonta, 594 U.S. 595, 606 (2021) (first and second alterations in original)

(quoting NAACP, 357 U.S. at 462). The court therefore applies the “exacting scrutiny” standard

to compelled-disclosure requirements, which requires that the government demonstrate “a

‘substantial relation’ between the disclosure requirement and a ‘sufficiently important’

governmental interest.” Doe v. Reed, 561 U.S. 186, 196 (2010) (quoting Citizens United, 558 U.S.

at 366-67). The weight of the governmental interest in question “must reflect the seriousness of

the actual burden on First Amendment rights.” Id.

       Defendants cannot meet this burden. As the court has already determined, Section 3

violates the First Amendment, and the government has no legitimate interest in retaliation and

viewpoint discrimination. See supra Part III.B.1. In any event, the court would be hard-pressed

to agree with Defendants that the compelled-disclosure requirement is “narrowly tailored to

Section 3’s stated goal.” ECF No. 58, at 23. Section 3 does not tie the disclosure requirement to

a particular kind of contract for certain goods and services. Indeed, Section 3 requires the

disclosure of “any business” that any government contractor does with Susman, even if that

business has nothing to do with the firm. Order § 3(a) (emphasis added). Because Defendants




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cannot demonstrate that they have an important interest that would be served by the compelled-

disclosure requirement, and because the scope of the required disclosure is far too broad for it to

be considered “narrowly tailored,” Susman is entitled to summary judgment on Count III.


                      3.      First Amendment - Right to Petition (Count IV)

          Susman argues that various sections of the Order violate the First Amendment “right of the

people . . . to petition the Government for a redress of grievances.” ECF No. 178 ¶ 142 (quoting

U.S. Const. amend. I). In particular, Susman identifies “the Order’s provisions punishing Susman

for past petitioning activity and restricting Susman’s ability to petition federal employees and

appear before federal agencies on federal property,” as well as in federal courts, as clearly violative

of the First Amendment. ECF No. 51-1, at 22. The court agrees.

          “[T]he Petition Clause protects the right of individuals to appeal to courts and other forums

established by the government for resolution of legal disputes.” Borough of Duryea v. Guarnieri,

564 U.S. 379, 387 (2011). Ample Supreme Court precedent establishes that “[t]he right of access

to courts for redress of wrongs is an aspect of the First Amendment right to petition the

government.” Id. (quoting Sure-Tan, Inc. v. Nat’l Lab. Rels. Bd., 467 U.S. 883, 896-97 (1984))

(collecting cases). And “[l]aws that ‘significant[ly] impair[]’ this right must, like all substantial

constitutional burdens, survive ‘exacting scrutiny.’” Patchak v. Jewell, 109 F. Supp. 3d 152, 163

(D.D.C. 2015) (second and third alterations in original) (quoting Elrod v. Burns, 427 U.S. 347,

362 (1976)), aff’d, 828 F.3d 995 (D.C. Cir. 2016), aff’d sub nom., Patchak v. Zinke, 583 U.S. 244

(2018).

          Defendants argue that properly evaluating the interest that Susman has at stake here

requires the court to wait and see what guidance agency heads issue. ECF No. 58, at 29-30. But

restrictions that prevent lawyers from entering federal buildings, interacting with agency officials,



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and even entering courthouses plainly constitute a “significant impairment” of Susman’s right to

petition the government. Elrod, 427 U.S. at 362. That Defendants have not yet issued guidance

to this end is irrelevant; the Order, fact sheet, and other statements made at the time of the Order’s

issuance makes clear that these restrictions are the government’s goal. See supra Part III.B.1.c.

And just like with the compelled-disclosure requirement in Section 3, Defendants fail to offer any

evidence of a compelling governmental interest that would allow these restrictions, which heavily

burden Susman’s right to petition, to survive exacting scrutiny. See id. Because there is no

legitimate governmental interest in abridging Susman’s right to petition because it engages in

disfavored speech, Susman is entitled to summary judgment on Count IV.


                4.      Fifth Amendment - Procedural Due Process (Count VI)

       The Fifth Amendment to the U.S. Constitution guarantees that “[n]o person shall

be . . . deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V.

“‘The fundamental requisite of due process of law is the opportunity to be heard’ at ‘a meaningful

time and in a meaningful manner.’” Alaska Commc’ns Sys. Holdings, Inc. v. Nat’l Lab. Rels. Bd.,

6 F.4th 1291, 1298 (D.C. Cir. 2021) (quoting Goldberg v. Kelly, 397 U.S. 254, 267 (1970)). When

evaluating a procedural due process claim, the court must “first determine whether constitutional

safeguards apply at all, i.e., whether a private party has a property or liberty interest that triggers

Fifth Amendment due process protection.” Reeve Aleutian Airways, Inc. v. United States, 982

F.2d 594, 598 (D.C. Cir. 1993). Then, the court evaluates whether the deprivation of interest

occurred without process. Mathews v. Eldridge, 424 U.S. 319, 333 (1976); see Morrissey v.

Brewer, 408 U.S. 471, 481 (1972) (explaining that process due is “flexible and calls for such

procedural protections as the particular situation demands”).




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       Susman contends in Count VI that the Order has deprived the firm of its constitutionally

protected liberty and property interests without process. ECF No. 51-1, at 24-27. Specifically,

Susman argues that, without any process whatever, the Order (1) interferes with the right of the

firm and its attorneys to pursue their chosen profession; (2) harms the firm’s reputation; and

(3) deprives the firm of its protected property interest in contracts with its clients. The court holds

that for each asserted liberty and property interest, Susman has shown that the Fifth Amendment’s

Due Process protections apply.

       Right to pursue chosen profession. Susman attorneys have the right to pursue their chosen

profession—law. Schware v. Bd. of Bar Exam’rs of N.M., 353 U.S. 232, 238-39 (1957) (holding

that “[a] State cannot exclude a person from the practice of law” in contravention of the Due

Process Clause). The Constitution safeguards an individual’s “right to follow a chosen trade or

profession” against governmental intrusions. Kartseva v. Dep’t of State, 37 F.3d 1524, 1529

(D.C. Cir. 1994) (quoting Cafeteria Workers v. McElroy, 367 U.S. 886, 895-96 (1961)).

Governmental action that creates “a stigma or other disability that foreclose[s] [the plaintiff’s]

freedom to take advantage of other employment opportunities” is prohibited. Bd. of Regents of

State Colls. v. Roth, 408 U.S. 564, 573-78 (1972).           The stigma may either “formally or

automatically exclude[] [the plaintiff] from work on some category of future . . . government

employment opportunities” or have “the broad effect of largely precluding [the plaintiff] from

pursuing her chosen career.” O’Donnell v. Barry, 148 F.3d 1126, 1140-41 (D.C. Cir. 1998)

(quoting Kartseva, 37 F.3d at 1528).

       Here, the Order creates both sets of stigmas. First, the Order formally excludes the firm

and its employees from being employed by the federal government or working on government

contracts. See Order §§ 3, 5(b). Second, the Order has a preclusive effect on Susman’s practice




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of law. The Order directs the government to terminate contracts with Susman’s clients, pressuring

clients to terminate their representation agreements with Susman and virtually shunning the firm

as persona non grata. See Order §§ 1, 3. By banning Susman employees from government

buildings and from engaging with government officials, the Order prevents the firm’s attorneys

from going to their place of work (the courts) and engaging in their daily business (discussing

cases with the government). Accordingly, the Order violates the right of Susman and its attorneys

to pursue their chosen profession.

       Susman’s reputation. Relatedly, Susman has a liberty and a property interest in its “good

name, reputation, honor, [and] integrity.” Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971).

This interest is particularly acute in the legal profession, where each state bar requires a showing

of honor and integrity for certification. Against this, the Order is especially pernicious. The Order

tarnishes, without process, Susman’s reputation with salacious allegations of wrongdoing—

references to “egregious” actions by Susman and a statement that the firm has “degrade[d] the

quality of American elections”—and it brands Susman as unfit for government work, or even

government interaction. The government is required to provide process when it issues “findings

of wrongdoing” that “could have an adverse impact on [an organization]’s reputation.” Fed.

Commc’ns Comm’n v. Fox Television Stations, Inc., 567 U.S. 239, 256 (2012). Thus, the Order

violates Susman’s interest in its reputation.

       Contracts with clients. Finally, the Order deprives Susman of its interest in contracting

with clientele. See Toxco Inc. v Chu, 724 F. Supp. 2d 16, 27 (D.D.C. 2010) (holding that “contracts

between private parties may give rise to property interests” for purposes of the Fifth Amendment).

The Order attaches a penalty to Susman’s representation: if a client chooses Susman under the




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Order’s regime, that client loses their government contract. See supra Part III.B.2. The Order

therefore violates the firm’s interest in being able to contract with clients.

                                               *        *      *

       The aforementioned liberty and property interests were all taken without any process. The

Constitution demands more; specifically, that Susman has the “right to know the factual basis for

the action” and have “the opportunity to rebut” it. Ralls Corp. v. Comm. on Foreign Inv. in U.S.,

758 F.3d 296, 318 (D.C. Cir. 2014). Susman was afforded neither. The firm was not given prior

notice of the Order, learned of it only when it was announced on live television, and was not

provided the opportunity to clear its name. Susman is therefore entitled to summary judgment on

Count VI.


                       5.      Fifth Amendment - Vagueness (Count VII)

       The Due Process Clause of the Fifth Amendment prohibits “[v]ague laws.” Grayned v.

City of Rockford, 408 U.S. 104, 108 (1972); see United States v. Williams, 553 U.S. 285, 304

(2008) (explaining that the “[v]agueness doctrine is an outgrowth . . . of the Due Process Clause

of the Fifth Amendment”). “A fundamental principle in our legal system is that laws which

regulate persons or entities must give fair notice of conduct that is forbidden or required.” Fox

Television, 567 U.S. at 253. Moreover, “precision and guidance are necessary so that those

enforcing the law do not act in an arbitrary or discriminatory way.” Id. at 253. Under the Fifth

Amendment, an enactment is void for vagueness if it fails to “give fair notice of conduct that is

forbidden or required,” Karem v. Trump, 960 F.3d 656, 664 (D.C. Cir. 2020) (quoting Fox

Television, 567 U.S. at 253), or “authorizes or even encourages arbitrary and discriminatory

enforcement,” Hill v. Colorado, 530 U.S. 703, 732 (2000). The law must “provide people of




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ordinary intelligence a reasonable opportunity to understand what conduct it prohibits.” Hill, 530

U.S. at 732.

       “[W]hen a statute ‘interferes with the right of free speech or of association, a more stringent

vagueness test should apply.’” Holder v. Humanitarian L. Project, 561 U.S. 1, 19 (2010) (quoting

Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 499 (1982)); see Sessions v.

Dimaya, 584 U.S. 148, 183 (2018) (Gorsuch, J., concurring) (“[A] ‘stringent vagueness test’

should apply to at least some civil laws—those abridging basic First Amendment freedoms.”); Fox

Television, 567 U.S. at 253-54 (“When speech is involved, rigorous adherence to [due process]

requirements is necessary to ensure that ambiguity does not chill protected speech.”); Grayned,

408 U.S. at 109 (“Uncertain meanings inevitably lead citizens to ‘steer far wider of the unlawful

zone’ . . . than if the boundaries of the forbidden areas were clearly marked.” (quoting Baggett v.

Bullitt, 377 U.S. 360, 372 (1964))).

       The parties dispute whether the Order is unconstitutionally vague. Susman maintains that

the Order fails to provide it with “fair notice of what is prohibited and how the [f]irm can avoid

sanctions in the future.” ECF No. 178 ¶ 193. Susman continues that the Order “leverages that

vagueness for its in terrorem effect,” ECF No. 51-1, at 27; because it is “so standardless,” “it gives

agencies sweeping discretion to further restrict Susman’s access over time,” id. at 28. Defendants

reject Susman’s vagueness claim, asserting that the Order merely calls for agency heads to develop

“guidance” and “[w]hat that guidance might consist of remains to be seen.” ECF No. 159, at 17.

       Susman has the better of the argument. Because the Order abridges the firm’s basic First

Amendment freedoms, a more stringent vagueness test applies. See Fox Television, 567 U.S.

at 253-54. Against such a test, the Order simply does not pass muster.




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       The Order does little to provide the court, much less “a person of ordinary intelligence[,]

fair notice of what is prohibited.” Williams, 553 U.S. at 304. Section 1 states that Susman is a

perpetrator of “activities inconsistent with the interests of the United States,” Order § 1, and

Section 5 directs agency heads to provide guidance limiting Susman employees from accessing

federal government buildings “when such access would threaten the national security of or

otherwise be inconsistent with the interests of the United States,” Order § 5(a). The court strains

to understand the contours of that prohibition—conduct that is “inconsistent with the interests of

the United States.”

       What is more plain to the court is the implication of such a vague prohibition. The Order

promises only discriminatory enforcement by the Executive branch against such conduct and the

threat of future retaliatory actions against the firm. See supra Part III.B.1. It chills Susman’s

speech advocating for clients whose interests are adverse to the government. Indeed, the Order

hangs like the sword of Damocles over the firm.         It “impermissibly delegates” matters to

Defendants “for resolution on an ad hoc and subjective basis, with the attendant dangers of

arbitrary and discriminatory application.” Grayned, 408 U.S. at 108-09. Because the Order

threatens penalties without sufficiently defining the conduct that triggers liability, it is

unconstitutionally vague. Susman is therefore entitled to summary judgment on Count VII.


                  6.      Fifth Amendment - Equal Protection (Count VIII)

       “The equal protection principles embodied in the Due Process Clause of the Fifth

Amendment essentially direct ‘that all persons similarly situated should be treated alike.’”

Brandon v. D.C. Bd. of Parole, 823 F.2d 644, 650 (D.C. Cir. 1987) (quoting City of Cleburne v.

Cleburne Living Ctr., 473 U.S. 432, 439 (1985)). To allege an equal protection violation, a

plaintiff may either claim that “he or she received differential treatment by the government due to



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membership in a protected class, such as one based on race, national origin, or gender,” or that he

or she is in a “class of one.” Kelley v. District of Columbia, 893 F. Supp. 2d 115, 122

(D.D.C. 2012) (first citing Jones v. Helms, 452 U.S. 412, 424 n.3 (1981), then quoting Vill. of

Willowbrook v. Olech, 528 U.S. 562, 564-65 (2000)). Here, Susman is pursuing a “class of one”

claim, arguing that it has been the subject of disparate treatment with no rational basis. ECF

No. 51-1, at 28-29; see 3883 Conn. LLC v. District of Columbia, 336 F.3d 1068, 1075 (D.C. Cir.

2003). Specifically, Susman contends that the Order intentionally treats it differently from

similarly situated law firms and that this differential treatment is “apparent on the face of the

Order.” ECF No. 51-1, at 29

       Defendants first respond that “the class-of-one theory of equal protection is inapplicable in

the government employment context.” ECF No. 58-1, at 17 (citing Enquist v. Or. Dep’t of Agric.,

553 U.S. 591, 609 (2008)). But, as explained, Susman is not a government employee. See supra

Part III.B.1.b. It is also not fatal to Susman’s class-of-one claim that a handful of other law firms

have been subjected to similar orders. That is because “the number of individuals in a class is

immaterial for equal protection analysis.” Olech, 528 U.S. at 564 n.1.

       Defendants further dispute whether Susman meets the elements of a class-of-one-claim.

They suggest that Susman is not similarly situated to “other potential government contractors who

do not engage in unlawful DEI practices.” ECF No. 58-1, at 17. Defendants also claim that there

is a “plainly rational” basis for distinguishing between “potential contractors who ‘engage in

blatant race-based and sex-based discrimination.’” Id. These arguments ring hollow for several

reasons. First, as already explained, Susman is not a government contractor—it is a law firm that

has been singled out by the Order. Next, Defendants have not established that Susman engages in

unlawful discrimination practices—indeed, Defendants admit that Susman was not included




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among the twenty firms that received “letters from the [Equal Employment Opportunity

Commission] Acting Chair” regarding employment discrimination. Id. at 25. Finally, Defendants

have offered no other purportedly rational basis for their differential treatment of Susman, nor can

the court readily discern one. Accordingly, the Order violates the Fifth Amendment’s equal

protection principle. Susman is therefore entitled to summary judgment on Count VIII.


                    7.     Fifth Amendment - Right to Counsel (Count IX)

       The Fifth Amendment protects “the right to the aid of counsel when desired and provided

by the party asserting the right.” Powell v. Alabama, 287 U.S. 45, 68 (1932). It guarantees due

process by safeguarding the rights of individuals or entities to obtain legal representation. See U.S.

Dep’t of Lab. v. Triplett, 494 U.S. 715, 720-21 (1990); see also Am. Airways Charters, Inc. v.

Regan, 746 F.2d 865, 872-73 (D.C. Cir. 1984) (“[A]n individual or entity may in fact be denied

the most fundamental elements of justice without prompt access to counsel.”); Muniz v. Meese,

115 F.R.D. 63, 66 n.11 (D.D.C. 1987) (“[A] violation of civil liberties . . . is implied by a

government intrusion into their right to select and to be represented by counsel of their choice.”).

Susman contends that the Order violates the Fifth Amendment right to counsel of the firm’s clients

by interfering with their ability to be represented by their chosen attorneys. The court agrees.

       Section 5 of the Order restricts Susman’s attorneys from “engaging with” government

officials or “access[ing] . . . Federal Government buildings.” Order § 5(a). In other words, the

firm’s clients would have “to go without their chosen counsel in upcoming meetings and hearings.”

ECF No. 51, at 30. Rather than being the “stuff of imagination,” as Defendants claim, ECF

No. 159, at 17, the Order directly interferes with Susman’s clients by impermissibly restricting the

firm’s attorneys from entering federal courthouses or interacting with government officials. The

Order cuts Susman off at the knees and effectively denies the firm’s clients its counsel. Because



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“governmental attempt[s] to deny counsel to a civil litigant” are invalid, Am. Airways Charters,

746 F.2d at 873 (collecting cases), the Order violates the Fifth Amendment right to counsel.

Susman is therefore entitled to summary judgment on Count IX.


                             8.      Separation of Powers (Count X)

       Finally, Susman argues that the Order violates separation-of-powers principles because it

“tak[es] action for which the Executive Branch has no constitutional or statutory authority

whatsoever,” ECF No. 178 ¶¶ 21, 214, and because it unlawfully encroaches on the purview of the

judiciary, id. ¶ 217. The court agrees.

       “The President’s power, if any, to issue [an executive] order must stem either from an act

of Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

579, 585 (1952). While the Order proclaims that it has been made pursuant to the “authority vested

in [Donald Trump] as President by the Constitution and the laws of the United States of America,”

Order, the court is not convinced that there is a statutory or constitutional basis for the actions

taken therein. Defendants do not point to any statutory authority that empowers the President to

punish a law firm for its choice of clients, donations, or other speech, and the court is not aware of

any law that would support such action. Likewise, there is no constitutional authority that supports

the action taken by the Order, and it cannot be sustained based on any of “the several constitutional

provisions that grant executive power to the President.” Youngstown, 343 U.S. at 587-88. None

of the President’s many powers—not his power as commander-in-chief, nor his foreign policy

powers, nor his power to appoint and remove government officials—can justify the targeting of a

law firm for protected speech and actions.

       This is especially so because, in addition to being outside the ambit of power granted to

the President by the Constitution, the Order usurps responsibilities that have been constitutionally



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delegated to the judiciary and therefore “threatens severe impairment of the judicial function.”

Velazquez, 531 U.S. at 546. “Interpretation of the law and the Constitution is the primary mission

of the judiciary when it acts within the sphere of its authority to resolve a case or controversy,”

and a “informed, independent judiciary presumes an informed, independent bar.” Id. at 545. When

the President attempts to limit who can present “the analysis of certain legal issues

and . . . truncate[s] presentation [of certain issues] to the courts,” he restricts “speech and

expression upon which courts must depend for the proper exercise of the judicial power.” Id. For

this reason, the power to “‘fashion . . . appropriate sanction[s] for conduct which abuses the

judicial process’” is exclusively among the judiciary’s “‘inherent powers,’ not conferred by rule

or statute”—and is a power that is not shared with any other branch of government. Goodyear

Tire & Rubber Co. v. Haeger, 581 U.S. 101, 107 (2017) (first quoting Chambers v. NASCO, Inc.,

501 U.S. 32, 44-45 (1991), then quoting Link v. Wabash R.R. Co., 370 U.S. 626, 630-31 (1962)).

Thus, to the extent that the Order sanctions attorneys—particularly in ways that prevent them from

appearing in court—it tramples on the province of the judiciary and violates the separation of

powers.

       Rather than genuinely contest Susman’s separation-of-powers arguments, Defendants

attempt to dodge them. Because Susman frames this claim as “Ultra Vires Presidential Action,”

ECF No. 178, at 116, Defendants cite Federal Express Corp. v. U.S. Department of Commerce,

39 F.4th 756 (D.C. Cir. 2022), for the proposition that ultra vires challenges are subject to a

“demanding standard” and are only available in limited circumstances, ECF No. 58, at 7. But

Federal Express Corp. is inapposite. In that case, the plaintiff challenged an agency interpretation

of a statute in circumstances where Congress had explicitly foreclosed judicial review. Id.

at 762-63. Because the plaintiff “[sought] the intervention of an equity court where Congress ha[d]




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not authorized statutory judicial review,” the D.C. Circuit determined that a “demanding standard

[was] necessary.” Id. at 765. The challenge mounted here lacks this key characteristic; it is a

classic separation-of-powers claim in the vein of Youngstown, where the court was “asked to

decide whether the President was acting within his constitutional power when he issued an

[executive] order.” 343 U.S. at 582.

           Because the Order does not draw on an executive power that has been designated to the

President by the Constitution or statute, and because it improperly seizes authority that the

Constitution grants to the judiciary, the court will grant Susman’s motion for summary judgment

as to Count X. 12


     C.      Susman is Entitled to a Permanent Injunction in Addition to Declaratory Relief

           A plaintiff moving for a permanent injunction must show: “(1) that it has suffered an

irreparable injury; (2) that remedies available at law, such as monetary damages, are inadequate to

compensate for that injury; (3) that, considering the balance of hardships between the plaintiff and

defendant, a remedy in equity is warranted; and (4) that the public interest would not be disserved

by a permanent injunction.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156-57 (2010)

(quoting eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006)).




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   Susman also argues that the Order “punishes [it] in the manner of an unconstitutional bill of
attainder” and that this violates the separation of powers because “Presidents cannot seize judicial
power unto themselves to ‘pronounce[] upon the guilt of [Plaintiff] . . . in accordance [solely] with
[their] own notions.’” ECF No. 178 ¶ 218 (quoting Cummings v. Missouri, 71 U.S. (4 Wall.) 277,
323 (1866)); ECF No. 158, at 39. Several amici raise similar arguments. See ECF Nos. 73, 145,
152. The extent to which the Constitution’s prohibition on bills of attainder applies to executive
action remains unclear. Because Susman does not raise a standalone bill-of-attainder claim, the
court declines to reach this issue.


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                   1.      Irreparable Harm and Adequate Remedy at Law

       It is well established that “the loss of constitutional freedoms, ‘for even minimal periods

of time, unquestionably constitutes irreparable injury.’” Mills v. District of Columbia, 571 F.3d

1304, 1312 (D.C. Cir. 2009) (quoting Elrod, 427 U.S. at 373). The court has determined that

Susman and its clients have suffered constitutional violations. See supra Part III.B. Were it not

for the court’s temporary restraining order as to Sections 1, 3, and 5 of the Order, this harm would

be ongoing. And the court expects that, if the temporary restraining order were lifted, these harms

would immediately resume. Susman has also suffered reputational harms that are not monetarily

reparable and that would continue if the court did not enter a permanent injunction. See Atlas Air,

Inc. v. Int’l Bhd. of Teamsters, 280 F. Supp. 3d 59, 103-04 (D.D.C. 2017). Because these harms

“cannot be fully compensated by later damages,” Christian Knights of the Ku Klux Klan Invisible

Empire, Inc. v. District of Columbia, 751 F. Supp. 218, 224 (D.D.C. 1990), they are irreparable.

       In addition to constitutional and reputational harms, Susman would suffer significant

monetary harm if the court’s injunctive relief were curtailed. To be sure, purely speculative

monetary harm is not enough to justify a permanent injunction; instead, “[t]he injury complained

of [must be] of such imminence that there is a ‘clear and present’ need for equitable relief to prevent

irreparable harm.” Wis. Gas Co. v. Fed. Energy Regul. Comm’n, 758 F.2d 669, 674 (D.C. Cir.

1985) (first alteration in original) (quoting Ashland Oil, Inc. v. Fed. Trade Comm’n, 409 F. Supp.

297, 307 (D.D.C. 1976)). Although Susman does not yet allege that it has lost money because of

the Order, it explains that clients have reached out to the firm to inquire about its effects, signaling

that if it is permitted to go into effect, they may take their business elsewhere. ECF No. 51-3 ¶ 70.

The court shares that concern. By its own terms, the Order appears to prevent Susman attorneys

from interacting with federal agencies—before whom they currently have a substantial amount of

business—and even from entering courthouses. Order § 5. Because over a third of Susman’s


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matters are in federal court or require interaction with the federal government, see ECF No. 51-3

¶¶ 72-73, it is evident that the Order will cause Susman significant financial loss if it goes into

effect.

          In many instances, “economic loss does not, in and of itself, constitute irreparable harm.”

Wis. Gas Co., 758 F.2d at 674. But where, as here, Defendants’ sovereign immunity prevents a

plaintiff from seeking monetary damages, courts have acknowledged that financial losses

“can . . . constitute irreparable harm.” Xiaomi Corp. v. Dep’t of Def., No. 21-CV-280, 2021 WL

950144, at *10 (D.D.C. Mar. 12, 2021). Accordingly, because Susman has no adequate remedy

at law that would ameliorate its significant constitutional and financial injuries, it has suffered

sufficient harm warranting permanent injunctive relief.


                          2.      Balance of Equities and Public Interest

          The balance of the equities and the public interest squarely favor the issuance of an

injunction. These factors “merge when, as here, the Government is the opposing party.” Singh v.

Berger, 56 F.4th 88, 107 (D.C. Cir. 2022) (quoting Karem, 960 F.3d at 668).

          Evaluating these merged factors begins and ends with whether the Order is lawful. Susman

has demonstrated that the Order is unconstitutional from beginning to end. See supra Part III.B.

Because “enforcement of an unconstitutional law is always contrary to the public interest,” Karem,

960 F.3d at 668 (quoting Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013)), the Order serves

no public interest. Defendants cannot, nor do they, argue anything different. See generally ECF

No. 159; see, e.g., TikTok Inc. v. Trump, 490 F. Supp. 3d 73, 85 (D.D.C. 2020) (holding that “the

government ‘cannot suffer harm from an injunction that merely ends an unlawful practice or reads

a statute as required’” (quoting R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015)));

Ramirez v. U.S. Immigr. & Customs Enf’t, 568 F. Supp. 3d 10, 34 (D.D.C. 2021) (concluding that



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when balancing the equities of unlawful governmental conduct, “any hardship” that the

government might identify “is not legally relevant”); League of Women Voters of U.S. v. Newby,

838 F.3d 1, 12 (D.C. Cir. 2016) (explaining that, although “[t]here is generally no public interest

in the perpetuation of unlawful agency action[,] . . . there is a substantial public interest in having

governmental agencies abide by the federal laws that govern their existence and operations.”

(internal quotation marks and quoted source omitted)).

       Here, the Order goes beyond violating the Constitution and the laws of the United States.

The Order threatens the independence of the bar—a necessity for the rule of law. Accordingly,

the court concludes that the balance of the equities and the public interest weigh overwhelmingly

in favor of granting the permanent injunction. 13


                                 3.      Appropriate Defendants

       Having determined that Susman is entitled to relief, the court must next consider whether

each of the Defendants is properly named. Defendants argue that Susman’s naming of the

Executive Office of the President is improper because it “is an entity comprising a number of other

entities, offices, and establishments,” and because Susman “fails to specify in the Complaint

whether it seeks to limit relief to any particular EOP entity and, if so, which one, and what

Plaintiff’s claims are against that entity and why relief against it is necessary.” ECF No. 58,

at 31-32. This argument is unconvincing and may be quickly disposed of: Defendants fail to cite

any authority suggesting that the Executive Office of the President is not a proper defendant merely




13
   Because the court concludes that no section of the Order can stand, it need not assess
severability. “[A]ssuming, arguendo, that the severability standard for statutes . . . also applies to
Executive Orders,” Minnesota v. Mille Lacs Band of Chippewa Indians, 526 U.S. 172, 191 (1999),
the court concludes that whether assessed on a section-by-section basis or as a whole, it cannot
stand, see id. at 173.


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because it has various constituent parts and offices—a fact that is true of federal agencies sued in

federal court every day. And, as Susman points out, the lone case that Defendants do cite,

Armstrong v. Executive Office of the President, 90 F.3d 553 (D.C. Cir. 1996)—if only for the

proposition that the Executive Office of the President has several component parts—itself features

the Executive Office of the President as a defendant, see ECF No. 158, at 40-41.

        Defendants further contend that the United States is not a properly named defendant

because “[s]uits alleging unconstitutional action by the Government must be brought ‘against

officials,’ not against the ‘agenc[y]’ or the ‘State[]’ writ large, ‘which retain their immunity against

all suits in federal court.’” ECF No. 58, at 32 (second and third alterations in original) (quoting

P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993)). This argument

falls flat given the Administrative Procedure Act’s express waiver of sovereign immunity in cases

where the United States is named as a defendant. 5 U.S.C. § 702. As Section 702 explains, “[t]he

United States may be named as a defendant in any . . . action, and a judgment or decree may be

entered against the United States,” when the action is (1) “in a court of the United States,”

(2) “seeking relief other than money damages,” and (3) “stat[es] a claim that an agency or an

officer or employee thereof acted or failed to act in an official capacity or under color of legal

authority.” Id. This is plainly such a suit, and Susman has therefore properly named the United

States as a defendant. 14




14
  To be sure, Section 702 requires that an order granting injunctive relief against the United States
“specify the Federal officer or officers . . . personally responsible for compliance,” 5 U.S.C. § 702,
and Susman’s proposed order has done just that, ECF No. 181-1.


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                                   IV.     CONCLUSION

       For the foregoing reasons, the court will deny Defendants’ Motion to Dismiss, ECF

No. 180, grant Plaintiff’s Motion for Summary Judgment, ECF No. 181, enter judgment for

Plaintiff on Counts I through IV and VI through IX of the Amended Complaint, and grant

declaratory and permanent injunctive relief. A contemporaneous order will issue.




                                                   LOREN L. ALIKHAN
                                                   United States District Judge
Date: June 27, 2025




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